        Case 2:09-cr-00466-KJD-LRL               Document 96      Filed 04/08/11     Page 1 of 1




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                                         UNITED STATESDISTRICT COURT

                                             DISTRICT OF NEVADA

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     RICA RDO SANTACRUZ-BECERILL etaI..


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            IT ISTHE ORDER OF THE COURT thatportion ofthesealedrecording shallbeunsealed bytheClerk
    forthelimited purposeofprovidingatranscriptofhearingasrequestedby DefenseCounset.


            IT IS FURTHER ORDERED thattheportionofthesealedrecordingshallthereaRerberesealedby the
    Clerk,untilfurtherorderofthisCourt.


            IT IS FURTHER ORDERED thatDefenseCounselshallnotdisclosethe sealed contentsofthetranscript
    to anyoneotherthantherepresentativesofthepartiesdirectly concernedwith thiscase.


           oa-f'
               sothis# dayofApril,2011.

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                                                     LawrenceR.Leavitt
                                                     UnitedStatesMagistrateJudge


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